  Case 1:19-cv-00187-RPK-ST Document 99 Filed 07/29/24 Page 1 of 1 PageID #: 435



UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
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WILLIAM R. NOLAN,

                          Plaintiff,
                                                                ORDER
                                                                CV-19-187 (RPK)
                 - against -

THE CITY OF NEW YORK, et al.,

                           Defendants,
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TISCIONE, United States Magistrate Judge:

        A show cause hearing will be held at 12:00 p.m. on August 8, 2024 before the undersigned in

Courtroom 910 of the Central Islip Courthouse. Counsel for all parties and Defendant Jose Rodriguez

must appear in-person. Counsel for Plaintiff is directed to immediately serve a copy of this Order upon

Jose Rodriguez at his last known address via return receipt delivery and file proof of delivery with the

Court no later than August 1, 2024.

        SO ORDERED.

                                                              s/
                                                            STEVEN L. TISCIONE
                                                            UNITED STATES MAGISTRATE JUDGE

Dated: Central Islip, New York
       July 29, 2024
